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                                ORDER

IT IS SO ORDERED by the Court, this _______          March
                                      10th day of _________________, 2021.


                                              s/ Matthew W. Brann
                                             ______________________________
                                             Matthew W. Brann
                                             United States District Judge




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